                                       UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF MISSOURI
                                                  SOUTHWESTERN DIVISION

 UNITED STATES OF AMERICA                                                    §      JUDGMENT IN A CRIMINAL CASE
                                                                             §
 v.                                                                          §
                                                                             §      Case Number: 3:17-CR-05023-RK(1)
 RAYMOND ADAIR                                                               §      USM Number: 32450-045
                                                                             §      Erica Mynarich, Retained
                                                                                    Defendant’s Attorney
                                                                             §
THE DEFENDANT:
       Pleaded guilty to count(s) 1 and 2 of the Information on 1/29/18 efore a U.S. Magistrate Judge, which was accepted by the
 ☒ court.

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                       Offense Ended      Count
 18 U.S.C. § 2423(b) and (e) - Travel with Intent to Engage in Illicit Sexual Conduct                      05/09/2016         1
 18 U.S.C. § 922(g)(3) and 924(a)(2) - Unlawful User of a Controlled Substance in Possession of            05/11/2016         2
 Firearms




The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                      September 17, 2018
                                                                      Date of Imposition of Judgment




                                                                      s/ Roseann A. Ketchmark
                                                                      Signature of Judge

                                                                      ROSEANN A. KETCHMARK
                                                                      UNITED STATES DISTRICT JUDGE
                                                                      Name and Title of Judge

                                                                      September 18, 2018
                                                                      Date




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                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

121 months as to count 1; 120 months as to count 2. Terms to run concurrent with each other and concurrent with defendant’s
sentence in 16MC-CR00521-01, McDonald County Circuit Court, Pineville, MO. The Court’s intent is that Defendant receive Federal
credit while being detained from 5/26/17 – 4/16/18 (11 months).

 ☒ The court makes the following recommendations to the Bureau of Prisons:
        Upon defendant’s request, the Court recommends that the defendant be screened for placement in Texarkana FCI.



 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                     ☐    a.m.           ☐   p.m.    on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before ____ a.m./ p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                    to


at                                     , with a certified copy of this judgment.




                                                                 U.S. MARSHAL




                                                                 DEPUTY U.S. MARSHAL




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                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : ten (10) years on Count 1 and 3 years
on Count 2, terms to run concurrent.



                                           MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☐    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5. ☒      You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6. X You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.




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                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at www.txnp.uscourts.gov.

 Defendant’s Signature                                                                             Date




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                                SPECIAL CONDITIONS OF SUPERVISION



a) The defendant shall apply all monies received from income tax refunds, tax refunds, lottery/gambling winnings,
judgments, and/or other anticipated or unexpected financial gains to the outstanding Court-ordered financial
obligation. The defendant shall immediately notify the probation officer of the receipt of any indicated monies.

b) Provide the Probation Office with access to any requested financial information.

c) Not incur new credit charges or open additional lines of credit without the approval of the Probation Office.

d) The defendant shall successfully participate in any outpatient or inpatient substance abuse counseling program,
which may include urinalysis, sweat patch, or Breathalyzer testing, as approved by the Probation Office and pay any
associated costs as directed by the Probation Office.

e) Successfully participate in any mental health counseling program, as approved by the Probation Office, and pay
any associated costs, as directed by the Probation Office.

f) The defendant shall submit his person and any property, house, residence, office, vehicle, papers, computer, other
electronic communication or data storage devices or media and effects to a search, conducted by a U.S. Probation
Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence
of a violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant
shall warn any other residents that the premises may be subject to searches pursuant to this condition.

g) The defendant shall not consume or possess alcoholic beverages or beer, including 3.2 percent beer, at any time,
and shall not be present in any establishment where alcoholic beverages are the primary items for sale.

h) The defendant will not associate or have any contact with persons under the age of 18, except in the presence of a
responsible adult who is aware of the nature of the defendant’s background and current offense and who has been
approved by the Probation Office.

i) The defendant shall successfully participate in a program of sex offender counseling, as directed by the Probation
Office. The defendant shall also pay any associated costs as directed by the Probation Office.

j) The defendant shall successfully participate in a program of polygraph testing to assist in treatment and/or
monitoring, as directed by the Probation Office. The defendant shall also pay any associated costs as directed by the
Probation Office.

k) The defendant will not have contact with the victim/s in this case, to include any physical, visual, written,
telephonic or electronic contact with such person/s. Additionally, the defendant shall not directly or indirectly cause
or encourage anyone else to have such contact with such person/s.

l) The defendant’s place of residence may not be within 1,000 feet of schools, parks, playgrounds, public pools, or
other locations frequented by children.

m) The defendant is barred from places where minors (under the age of 18) congregate; such as residences, parks,
pools, daycare centers, playgrounds and school, unless prior written consent is granted by the Probation Office.

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n) The defendant shall comply with all state and federal sex offender registration requirements.

o) The defendant shall consent to having installed any hardware or software systems on his/her computer(s), to
monitor computer use. The defendant shall pay any associated costs as directed by the Probation Office.

p) The defendant shall not maintain or create a user account on any social networking site (i.e. Myspace, Facebook,
Adultfriendfinder, etc.) that allows access to persons under the age of 18, or allows for the exchange of sexually
explicit material, chat conversations, or instant messaging. The defendant shall not view and/or access any web
profile users under the age of 18.

q) The defendant shall consent to third-party disclosure to any employer, or potential employer, concerning the
history, characteristics, criminal background or any computer-related restrictions that have been imposed.

r) You shall consent to the United States Probation Office conducting periodic unannounced examinations of your
computers or other electronic devices which may include retrieval and copying of all data from these devices. This
also includes the removal of such devices, if necessary, for the purpose of conducting a more thorough inspection.




                                  ACKNOWLEDGMENT OF CONDITIONS
        I have read or have read the conditions of supervision set forth in this judgment and I fully understand them. I have been
provided a copy of them.

         I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision.


_______________________________________                ____________________
DEFENDANT                                              DATE


________________________________________               ____________________
UNITED STATES PROBATION OFFICER                        DATE




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                                       CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                            Assessment        JVTA Assesment*                            Fine                   Restitution
 TOTALS                                           $200                  $5,000                       $150,000                            $0

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However,
pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.



                                               SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ☒     Lump sum payments of $200 assessment is due immediately. It is ordered that the Defendant shall pay to the
             United States a special assessment of $200 which shall be due immediately. Said special assessment shall be paid
             to the Clerk, U.S. District Court.

             Lump sum payments of $150,000 fine is due immediately. It is ordered that the Defendant shall pay to the United
             States a special assessment of $150,000 which shall be due immediately. Said special assessment shall be paid to
             the Clerk, U.S. District Court.

             Lump sum payments of $5,000 JVTA assessment is due immediately. It is ordered that the Defendant shall pay to
             the United States a special assessment of $5,000 which shall be due immediately. Said special assessment shall be
             paid to the Clerk, U.S. District Court.

         Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

         The Court finds that the defendant does not have the ability to pay a fine, the fine is waived.

         The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court




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